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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )   No. 20-cv-11217-FDS
       V.                                           )
                                                     )
REGENERON PHARMACEUTICALS, INC.,                     )
                                                    )

____________
                       Defendant.                   )
                                                    )


                                            ORDER

       Upon consideration of the parties' Joint Status Report and Motion for an Extension of

Time to Complete Fact Discovery, it is

       ORDERED that the deadline to complete fact discovery is extended through and until

April 29, 2022 to allow the parties to complete the outstanding depositions referenced in the

parties' Joint Status Report;

       IT IS FURTHER ORDERED that the deadline for fact discovery is extended to allow

the parties to file any motions to compel on or before one week following the last deposition in

fact discovery, subject to the terms of the Scheduling Order, including Procedural Provision,

Paragraph 2; and
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       AND IT IS FURTHER ORDERED that in the event the Court denies the government's

motion for protective order concerning Regeneron's Rule 30(b)(6) deposition of the United

States or permits further deposition of Robert Terifay, the Parties shall have additional time to

complete that fact discovery.



IT IS SO ORDERED, this_          April
                      12 day of _______ 2022


                                        /s/ F. Dennis Saylor, IV
                                      THE HONORABLE F. DENNIS SAYLOR
                                      CHIEF UNITED STATES DISTRICT JUDGE




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